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IN THE CIRCUIT COURT, FOURTH
JUDICIA.L CIRCUIT, IN AND FOR

 

DUVAL COUN'I`Y, FLORIDA
CASE ND.:
DWISION:
KAREN DAVIS,
Plalmiff,
vs.
STATE FARM MUTUAL AUTOMOBILE
MSURANCE COMPANY, a
Foreign Profit Corporation,
D¢fcndant.
/
§§MILM

COM‘ES NCW the Plaintiff, KAREN DAVIS, by and through the mdcxsigned counsel
and sues Defendant, STA'I'E FARM MUTUAL AUTOMOBILE INSURANCE COMPANY,
and states as followl:,

I. 'I'his is an action fbr damages in excess of the sum af Fifteen Thouse.nd and 001 100
(S!$,OO0.0G) Dollm exclusive of costs, int¢=m=:s.t5 and momeys' fees.

2. At all times material to this action, Plaintl&`, KAREN DAVIS, was and is a natural
person residing in Jaoksonville, Duval County, Florlda.

3. At all times material to this action, Defendant, S'I'A'I‘E FARM MUTUAL
AUTOMOBILE INSUR.ANCE COMPANY Was a foreign profit corporation authorized to do
business end doing business in Jncksonvllle, Duval County, Florida.

4. On or about July 7 , 2015 l’laintlff was the operator of a motor vehicle traveling west

on cont md in Jacksonvme, owe Coumy, onrida.

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5. At that same time and place, the at-feult driver was the underinsured operator of a
motor vehicle making a left-bend turn from eastbound Colllns Roed onto 1495 northbound entrance
ramp in lacksonville, Duval County, Plorlda.

6. At that sarno time and pleoc, the trt-fault driven negligently operated end/or
maintained the motor vehicle so as to collide with l'laintit&‘s motor vehicle, thereby causing her to
sustain serious injuries.

7. On or about July l, 2015 Defendent, STATE FARM MU'I`UAL AUTOMOBIIE
l'NSURANCE CDMPANY, issued and delivered to Plaintiff a policy of ineurmce numbered 59-
6R87-54l, which was in full force and effect on the date ofthe accident

8. Under the terms of the insurance poliey, Defendunt. STATE FARM MUWAL
AUTOMOBILE .\NSURA.NCE COMPANY, provided non-stacking uninsured/tmderi.nlured
motorist coverage for Pla.iniiH` in the amount of $100,000.00 each person/$BO0,000.(}O each
occurrence

9-. Defendant1 STATE FARM MUTUAL AUTOMOBILE INSURANCE
COMPANY, has in its custody and control a copy of the insurance policy and, therefore it is not
attached w the Complaint.

10. Plaintifflias furnished Detendent timely notice of the automobile accident and proof
of the claim for damages described above end has otherwise performed all conditions precedent to
entitle recovery under the uninsured/underinsured portion of the policy, but Defendent has refused
to pay Pleinti&' for the full value ofthe olaim.

t 1. As o direct and proximate result of the negligence of the at~thult underinsured driver,
Plalnilff, K.AR.EN DAVIS has sufi`ered or incurred the following

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a. Slgnlfloant and permanent lose of an important bodily ftmotion;

permanent injury within a reasonable degree of medical probability other than
scarring or distigurement;

c. aggravation or activation cf en existing disease or physical defect;
d. pain, suffering, disability, physical irn}:l.ttirrnentl mental engulsb, inconvenience end

loss of the capacity for the enjoyment of life;
e. expenses of medical care and treatment in the past end in the future; and
lost earnings and loss of tire ability to earn money itt the future
All of the above losses are continuing and/or permanent in nature
WI'IEREFORE, Plaintiff, KAR.EN DAVIS, demands judgment for damages, costs end any
other relief this Court deems appropriate against Defendent, STATE FARM MUTUAL

AUTOMDBILE WSURANCE COMPAN‘Y. Plsintlh' also demands a jury trial on all issues

so triable
suspectva submitted this Mdey or Mareh, 2017.
/s/ Joson S. Miller

JASON S. MILLER. ESQUIRB
FBN: 05 1 9758

Morgan & Morgan

76 Soutb laura Street, Stc. 1100
Jaeksenvine, PL 32202

Telephonc/ (9{)4) 398-2722
Fe.csitrtiie / {904) 361-4381
Prima¢¥ Email= ML¢L@£Q£B§PP.QH!M
Secondary Email: munnn@£uuhsssM-SM
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